B1 (Official Form 1)Case
                     (4/10)    13-03540             Doc 1         Filed 01/30/13              Entered 01/30/13 14:33:33                          Desc Main
                                                           Document
                                    UNITED STATES BANKRUPTCY COURT                            Page 1 of 37
                                                                                                                                       VOLUNTARY PETITION
                                     Northern
                                     __________ District of__________
                                                District of Illinois
 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
  Guevarra, Agnes L.
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                   Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                                  (if more than one, state all):
 xxx-xx-1539
 Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
 840 Heritage Dr.
 Addison, IL
                                                                      ZIP CODE 60101                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
  DuPage
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                     ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                           ZIP CODE
                      Type of Debtor                                        Nature of Business                              Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                                     (Check one box.)                                  the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                          ✔       Chapter 7               Chapter 15 Petition for
 ✔      Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in                Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                                  Chapter 11              Main Proceeding
        Corporation (includes LLC and LLP)                         Railroad                                              Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                           Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                              Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                                   Other                                                                  Nature of Debts
                                                              ___________________________________                                         (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)                ✔ Debts are primarily consumer              Debts are primarily
                                                                                                                       debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization              § 101(8) as “incurred by an
                                                                      under Title 26 of the United States              individual primarily for a
                                                                      Code (the Internal Revenue Code).                personal, family, or house-
                                                                                                                       hold purpose.”
                                Filing Fee (Check one box.)                                                                       Chapter 11 Debtors
                                                                                                 Check one box:
 ✔      Full Filing Fee attached.                                                                    Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                     Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is           Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                     insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 on 4/01/13 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.           -----------------------------------
                                                                                                 Check all applicable boxes:
                                                                                                     A plan is being filed with this petition.
                                                                                                     Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                          THIS SPACE IS FOR
                                                                                                                                                                 COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
 ✔         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
 ✔
 1-49          50-99          100-199         200-999        1,000-          5,001-         10,001-          25,001-           50,001-          Over
                                                             5,000           10,000         25,000           50,000            100,000          100,000

 Estimated Assets
                              ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
 Estimated Liabilities
                              ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
B1 (Official Form 1)Case
                     (4/10)     13-03540            Doc 1          Filed 01/30/13 Entered 01/30/13 14:33:33                                       Desc Main              Page 2
 Voluntary Petition                                                  Document     Page  2Debtor(s):
                                                                                   Name of of 37
 (This page must be completed and filed in every case.)                                Agnes L. Guevarra
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed:
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed:
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                      Case Number:                                     Date Filed:

 District:                                                                                       Relationship:                                   Judge:
                     Northern District of Illinois
                                           Exhibit A                                                                                 Exhibit B
                                                                                                                     (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and 10Q)                           whose debts are primarily consumer debts.)
 with the Securities and Exchange Commission pursuant to Section 13 or 15(d) of the
 Securities Exchange Act of 1934 and is requesting relief under chapter 11.)                     I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
                                                                                                 or 13 of title 11, United States Code, and have explained the relief available under
                                                                                                 each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                                 required by 11 U.S.C. § 342(b).

         Exhibit A is attached and made a part of this petition.                                 X     Steven E. Barleben /s/                     01/28/2013
                                                                                                     Signature of Attorney for Debtor(s)       (Date)

                                                                                       Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

         Yes, and Exhibit C is attached and made a part of this petition.

 ✔       No.


                                                                                       Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     ✔       Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

          Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
                ✔      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
             Case 13-03540                    Doc 1          Filed 01/30/13 Entered 01/30/13 14:33:33                                              Desc Main
                                                               Document     Page 3 of 37
                                                                                                                                                                     Pa e 3




                        Signatur£{s) ofDebtor(s) (IndividuaVJolnt)           h                                       Signature of a Foreign. Representative
                                                                           !:
I declare under penalty of perjury that the information provided in this petition JS true          , 8re under penalty of peJjury that the information provided
                                                                                                                                                           in this petition is
and correct.                                                                      '         trUe' andcorrect, that I am the foreign representative of a debtor in a foreign
[If pemioner IS an individual whose debts are primarily consumer debts and has              proceeding, and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, II, 12
                                                                                            (Check only one box.)
or 13 of mle II, United States Code, understand the relief available under each such
chapter. and choose to proceed under chapter 7.
[If no attorney represents me and no bankruptcy petition preparer signs the petition]
                                                                                            o       I request relief in aCCordance with chapter IS of title II, United States Code,
                                                                                                    Certified copies of the documents required by II U.S.c. § ISIS are attached
have obtained and read the notice required by II U.S.c. § 342(b).
                                                                                            [J     Pursuant to II U.S.c. § 1511, I requestrelief in accordance with the
1 request relief   10   accordance with the chapter of title II, United States Code,               chapter of title II specified in this petition. A certified copy of the


:"fi'd~:" r~
                                                                                                    order granting recognition of the foreign main proceeding is attached.

                                                                                            x
     SjltJre of Debtor                                                                             (Signature of Foreign Representative)

x
     Signature of Joint Debtor                                                                     (Printed Name of Foreign Representative)

     1f~e~§?2~¥~ber (if not represented by attorney)
                                                                                                   Date
     Date
                                 Signature of Attorney·                                                     Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                            ,1r~~f:;i   "
x     Steven E. Barleben /5/                                                                I'deClare under penalty of perjury that:     (I) I am a bankruptcy petition preparer as
     Sjgnature o(AttQrney for Debtor(s)                                                     defU1ed in II U.S.C. § 110; (2) I prepared this document for compensation and have
      ;,teven E. t::Sarreben                                                                Rrovided the debtor with a copy of this document and the notices and information
     P,nnted ~ij.jIle of MoOmey for QcbtQr(s) b                                             required under II U.S.C. §§ II00b), llO(h), and 342(b); and, (3) if rules or
      Law uTTIce ot ;,teven C. t::Sal1e en                                                  guidelines have been promulgated pursuant to II U.S.c. § II O(h) setting a
     FJrTn Name                                                                             maximum fee for services chargeable by bankruptcy petition preparers. I have given
      3830 N Ashland Ave                                                                    the debtor notice of the maximum amount before preparing any document for tiling
                                                                                            for a debtor or accepting any fee from the debtor, as required in that section
      Cnieage, IL 60613
                                                                                            Official Form 19 is attached.

     (~~)665-7 523
                                                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer

     Date                                                                                          Social-Security number (If the bankruptcy petition pre parer IS not all
                                                                                                   individual, state the Social-Security number of the officer. pnnclpal
'In a case 10 which § 707(b)(4)(D) applies, this signature also constitutes a                      responsible person or partner of the bankruptcy petition preparer) (ReqUired
cef1ltlcatlon that the attorney has no knowledge after an inquiry that the information             by II U.S.c. § 110.)
In the schedules IS incorrect.


                   Signature of Debtor (CorporationIPartnersbip)

I declare under penalty of perjury that the information providedin this petiticm'is true           Address
and correct. and that I have been authorized to file this petition on          fof the      x.
debtor                                                                                      '."j'
                                                                                            I:~H·.·
The debtor requests the relief in accordance with the chapter of title II,   UnitedS~tes     J: ~Da-te---------------------
Code. specltled 10 thiS petition.                                                 •
                                                                                            Signature of bankruptcy petition preparer or officer, principal, responsible person,
x                                                                                           or partner whose Social-Security number is provided above.
     Signature of Authonzed Individual
                                                                                            Names and Social-Security numbers of all other individuals who prepared or
     Pnnted Name of Authorized Individual
                                                                                            assisted in preparing this document unless the bankruptcy petition preparer IS not an
     Title of Authonzed Individual                                                          individual.

     Date                                                                                   If more than one person prepared this document, attach additional sheets
                                                                                            conforming to the appropriate offiCial form for each person.

                                                                                            A bankruptcy petition preparer 's failure to comply with the provISIons of IIlle II
                                                                                            and the Federal Rules ofBankruptcy Procedure may result inflnes or Ifnprisonmem
                                                                                            or both. lJUS.c. lJO;18US.C. 156.
    Case 13-03540               Doc 1       Filed 01/30/13 Entered 01/30/13 14:33:33        Desc Main
                                              Document     Page 4 of 37


B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                                                   Illinois
                                             Northern District of __________
                                            __________


          In re__________________________
                 Agnes L. Guevarra                                             Case No._____________
                                Debtor                                                   (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

       ’ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
           ✔



from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        ’ 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
Case 13-03540              Doc 1         Filed 01/30/13 Entered 01/30/13 14:33:33     Desc Main
                                           Document     Page 5 of 37



                                                                                            Page 2
  B 10 (Official Fonn 1, Exh. D)(12/09) - Cont.


        o 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.}




       If your certification is satisfacto 0       caliri, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

         o 4. I am not required to receive a credit counseling briefing because of:
                                                                              [Check the
applicable statement.} [Must be accompanied by a motion for determination by the court.]

                   o Incapacity.
                               (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
        illness or mental deficiency sq ,'I';" e in.e .a.ble of realizing and making rational
        decisions with respect to fin~~        ;'A~·"'·;#es.);
                o Disability. (Define&"             :/S':,P9(h)(4) as physically impaired to the
        extent of being unable, after reaSolfflle 'c q .'to participate in a credit counseling
        briefing in person, by telephone, orthrough the Internet.);
                o Active military duty in a military combat zone.
       05. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of II U.S.C. § 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.
             Case 13-03540                  Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                             Desc Main
                                                           Document     Page 6 of 37
B6 Summar) (OffiCial Form 6 - Summary) (12/07)



                                            United States Bankruptcy Court
                                                 Northern               District Of             Illinois

In re      Agnes L. Guevarra                                                               Case No.
                                   Debtor
                                                                                           Chapter _,. 7           _


                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals li'om Schedules A. H. D. L. F. I.
and J in the boxes provided. Add the amounts from Schedules A and 13 to detcrmine the total amount of the debtor's assets. Add the amounts of all
claims from Schedules D. F.. and F to determine the total amount of the debtor's liabilities. Individual debtors also must complete the "Statistical
Summary of Certain Liabilities and Related Data" if they file a case under chapter 7. II. or 13.


                                                    ATTACHED
 :\AME OF SCHEDlLF:                                  (YES/NO)    1\0. OF SHEETS             ASSETS               LIABILITIES               OTHER

 i\ -   Real Proper!\                                                                  $
                                                    Y                1                     216,121
 B - Personal Pro pert)                                                                $
                                                    Y                3                      88,363
 C - Property Claimed
     as Exempt                                      Y               1
 0- Creditors Hold111g                                                                                      $
    Secured Claims                                  Y               1                                           340,898
 E - Creditors Holdmg Unsecured                                                                             $
     I'rJor;t\ Claulls
     (Total ot'C.'lamls on Schedule F)           Y                  2                                                     0
 F    - Creditors Hold111g Unsccurcd                                                                        $
        ~onpnorlt:   Clall11s
                                                    Y               2                                             33,824

 G - Executory Contracts and
     Unexpired Leases                                               1
                                                    Y
 H - Codebtors
                                                 Y                  1
 J-   Current Incomc of                                                                                                              $
      Ind"'ldual Dehlor(s)                       Y                  1                                                                    4,361
 .I - Current Expenditures of Individual                                                                                             $
       Dehtors(s)                                Y                 1                                                                     5,527
                                            TOTAL                                      $                    $
                                                                   14                      304,484              374,722
              Case 13-03540               Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                               Desc Main
                                                         Document     Page 7 of 37
Form 6 - Statistical Summary (12/07j


                                          United States Bankruptcy Court
                                                        Northern         District Of   Jlljnois
In rt:    Agnes L. Guevarra                        _                                         Cast: No.                        _
                                Dt:btor
                                                                                             Chapter      7         _

     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.c. § 159)
          I I' you are an individual debtor whose debts are primarily consumer debts. as defined in § ]() I(8) of the Bankruptcy Code (I I U.s.c.
§ 101(8)), filing a case under chapter 7, I lor 13. you must report all information requested below.

          o Check this box if you are an individual debtor whose debts are NOT primarily consumer dcbts. You are not required to rcport an)
infomlation here.

This information is for statistical purposes only under 28 U.S.C § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them,



  Type of Liability                                                     Amount

  Domestic Support Obligations (from Schedule E)                        $   0
  Taxes and Certain Other Debts Owed to Govemmental Units               $
  (from Scheduk L)                                                          0
  Claims for Death or Personal Injury While Debtor Was                  $
  Intoxicated (Irom Schedule E) (whether disputed or undisputed)            0
  Student Loan Obligations (from Schedulc F)                            $   0
  Domestic Support. Separation Agreement. and Divorce Decree            $
  Obligations Not Reported on Schedule ,.                                   0
  Obligations to Pension or Profit-Sharing, and Other Similar           $
  Obligations (trom Schedule F)                                             0
                                                            TOTAL       $   0

State the   ~0 II owmg:

  Average Income (trom Schedule L Line 16)                              $   4,361
  Average Expenses (trom Schedule J. Line 18)                           $   5,527
  Current Monthly Income (ti'om Form 22A Line 12: OR Fom]               $
  228 Line II: OR Form 22C Line 20 )                                        8,069

St a t e th e f 0 11 OWIO!!::

   I. Total from Schedule D, "UNSECURED PORTION, IF                                               $
   AN'\''' column                                                                                     0
   2. Total from Schedule E. "AMOUNT ENTITLED TO                        $
   PR10RlTY" column.                                                        0
   3. Total from Schedule I. "AMOUNT NOT ENTITLED TO                                              $
   PRIORITY, IF ANY" column                                                                           0
   4, Total from Schedule F                                                                       $ 33,824
   5. Total of non-priority unsecured debt (sum of L 3. and 4)                                    $ 33,824
         Case 13-03540                Doc 1         Filed 01/30/13 Entered 01/30/13 14:33:33                                   Desc Main
                                                      Document     Page 8 of 37
B6A (Official Form 6A) (12/07)

In re   Agnes L. Guevarra                                     _                                         Case '\0.                                    _
                    Debtor                                                                                                  (If known)


                                           SCHEDULEA-REALPROPERTY
    Except as directed below. list all real property in which the debtor has any legal, equitable. or future interest. including all property owned as a co­
tenant. community property. or in which the debtor has a life estate. Include any property in whieh the debtor holds rights and powers exercisahle for
the debtor's own henelit. If the dehtor is married. state whether the husband. wife. hoth. or the marital community own the property hy placing an "'H."
"'W:' "'.I." or "C" in the column laheled ··Hushand. Wit\:. Joint. or Community,'" If the dehtor holds no interest in real property. write "None'" under
"Description and Location 0 r Property:'

    Do not include interests in executor'Y contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
llncxpired Leases.

    Ifan entity claims to have a lien or hold a secured interest in any property. state the amount of the seeured claim. See Schedule D. Ifno entity claims
to hold a secured interest in the property. write '"None'" in the columnlaheled '"Amount of Secured Claim:'

    If the dehtor is an individual or ifajoint petition is tiled. state the amount ofany exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.



                                                                                     ....:­
                                                                                     :z
             DESCRIPTIOi' Ai'D                                                       Qj;;            CURRENT VALl:E                  AMOlI\TOF
               LOCATION OF                           :"ATlIRE OF DEBTOR'S            ~~                OF DEBTOR'S                    SECIIRED
                PROPERTY                            INTEREST I!\ PROPERTY            -~:E:
                                                                                        :E:            INTEREST I:"                    CLAI,"I
                                                                                        -0         PROPERTY, WITHOll'f
                                                                                     <::> <....>

                                                                                     ~~
                                                                                     ..,.,           DEDt:CTI:"G ANY
                                                                                     =>              SECl:RED CLAI"I
                                                                                     =                OR EXEI\IPTlO\l


  Single Family Residence                        Fee simple                                             216,121                        340,898

 840 Heritage Dr.
 Addison, IL
 Vacant lot                                      Fee simple                                                   0                               0
 Section 26, Lot 203
  Sublette, IL




                                                                                 Total~            216,121
                                                                                 (Report also on Summary of Schedules.)
          Case 13-03540                    Doc 1          Filed 01/30/13 Entered 01/30/13 14:33:33                                  Desc Main
                                                            Document     Page 9 of 37
868 (Official Form 68) (12/07)

In re    Agnes L. Guevarra                                        _                                      Case :'\in.                               _
                       Debtor                                                                                                    (If known)


                                          SCHEDULE B - PERSONAL PROPERTY
           Fxcept as directed below. list all personal property of the debtor of whatever kind. Ifthc debtor has no propel1y in one or more ofthe categories.
place an "x" in the appropriate position in the column labeled "None:' If additional space is needed in any category. attach a separate sheet properly
identificd \\ith the case name. case number. and the number of the category. II' the debtor is married. state whether the husband. wi fe. hoth. or the marital
community own the property by placing an '"[I." '"W:' ".1:' or "C" in the column labeled '"I1usband. Wife. Joint. or Community."' If the debtor is an
individual or ajoint petition is liled. state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

           Do not list interests in executory contracts and unexpir'ed leases on this schedule. List them in Schedule G - Executor), Contracts and
li nexpir'ed Leases.

If the property is being held lor the debtor by someone else. state that person's name and address under "Description and Location of Propcrty:'
If the property is being held for a minor child. simply state the child's initials and tile name and address of the child's parent or guardian. such as
"A.B .. a minor child. by John Doe. guardian." Do not disclose the child's namc. Sec. II U.S.c. ~112 and Fed. R. 13ankr. P. J007(m).



                                                                                                                   ~
                                                                                                                                 CTRRE:\T VALUE OF
                                                                                                                                 DEBTOR'S INTEREST
                                                    N                                                              ~~
                                                                                                                   3=%
                                                                                                                                 IN PROPERTY, WITH­
          TYPE OF PROPERTY                          0             DESCRIPTION AND LOCATION                               ::>     OF" DEIKCTlNG ANY
                                                                                                                   g~
                                                    :'i                 OF PROPERTY                                «0              SEClIREIJ CLAL'"
                                                    E                                                              '"'   .....
                                                                                                                                    OR EXE:'ttl'T10:\
                                                                                                                   ~~
  I Cash on hand                                          Cash Money- 840 Heritage Dr.                                                  20
 2 Check mg. savings or other finan-
 Cial accounts. certificates of deposit                    Baxter CU Acct.- Vernon Hills, IL                                            52
 or shares in hanks. savings and loan.
 thrift. huild1l1g and loan. and home­                     Baxter CU Holiday Acct.- Vernon Hills, IL                                     0
 stead assoclanons. or credit unions.
 brokerage houses. or cooperatives.                        Chase Cking. Acct.- San Antonio, TX                                         413
 3. Security deposits with publiC util­                    Chase Sav. Acct.- San Antonio, TX                                           376
 ities. telephone companies. land­              x
                                                           ING Direct Cking. Acct.- Wilmington, DE                                      50
 lords. and others.

 4. Household goods and fUrJlIShmgs.
 including audio. video. and computer
                                                           Misc. furniture, tv, appliances,                                         1,300
 equipment.
                                                           utensils- 840 Heritage Dr.
 5. Books: pictures and other an
 oblects: antiques: stamp. com.
                                                x
 record. tape. compact diSC. and other
 collections or collecnbles

 6 Wearing appard                                         Misc. clothes- 840 Heritage Dr.                                             300
 7 Furs and Jcwelr\                                       Necklace, earrings, rings- 840 Heritage Dr.                                 200
 8 Firearms and sports. photo­                            Digital camera, stationery bike-                                            250
 graphic. and other hobb\' equipment.
                                                          840 Heritage Dr.
 9 Interests m insurance poliCies
 Name lIlsurancc company' of each               x
 pollcv and itemize surrender or
 refund value of each

 10. Annuities. Itemize and name
 each Issuer.                                   x
  II. Interests in an education IRA as
 defined in 26 USC ~ 530(b)( I) or under        x
 a qualilled State tuition plan as defined in
 26 U SC ~ 529(b)(I) Give particulars
 (File separately the record(s) of an\ ,"ch
 Interest( s) 11 USC ~521(c))
          Case 13-03540                      Doc 1         Filed 01/30/13 Entered 01/30/13 14:33:33           Desc Main
                                                            Document     Page 10 of 37
B6B (Official Form 6B) (12/07) -- Cont.



In re
           Agnes ,----
                 L. Guevarra                                      '                         Case '\0.                      _
                       Debtor                                                                              (If known)


                                            SCHEDULE B-PERSONAL PROPERTY
                                                                 (Continuation Sheet)

                                                                                                    !i      Cl 'RRE'JT VALlE OF
                                                                                                    ~      DEBTOR'S I:'iTEREST
                                                      '\                                            ~i:;    IN PROPERTY, WITU­
          TYPE OF PROPERTY                            0          DESCRIPTION AND LOCATION           ~~     011'1 DEIWCTING ANY
                                                      '\                OF PROPERTY                 fil
                                                                                                    40        SECliRED CUI't
                                                                                                    ""u
                                                                                                               OR EXEMPTIO,\
                                                      E                                             ~~

 12. Interests in IRA. ERISA, Keogh. or                                                                         36,459
 other pension or profit shaflng plans.
                                                           Entrust IRA Acct.- Chicago, IL
 Give particulars
                                                           Fenwal 401(k) plan- Parsippany, NJ                   39,019
 13 S[()ck and interests in Incorporated
 and unincorporated businesses                    x        ING Direct IRA- Wilmington, DE                        4,405
 IlL'mlLe

 14. Inlerests In partnerships Oflolnt
 ventures. ltemiLe
                                                  x

 15. Government and corporate bonds
 and other negotiable and non­                    x
 negotiable instruments

 16. Accounts receivable
                                                  x
 17 Alimony. maintenance. support,
 and property settlements to \Vh ich the          x
 debtor is or may be entitled Give
 particulars

 I R. Other liqUidated debts owed to
 debtor 111cluding ta" refunds. Give              x
 particulars

 19. Equitable or future interests. lite
 estates, and fights or powers e"erclsable        x
 for the benefit of the debtor other than
 those listed 111 Schedule i\- Real
 Property.

 211. Contingent and noncontl11gent
 I11terests In estale of a decedent. death        x
 benefit plan. Ilti: Insurance policy. or trust

 21. Other contl11gent and unliquidated
 claims of every nature. I11cl uding ta"          x
 refunds, counterclaims of the debtor, and
 fights to setotT claims Give estimated
 value of each.
             Case 13-03540                    Doc 1     Filed 01/30/13 Entered 01/30/13 14:33:33                                  Desc Main
                                                         Document     Page 11 of 37
B6B (Official Form 6B) (12/07) -- Cont.

In re      Agnes L. Guevarra                                     _                                         Case No,                            _
                          Debtor                                                                                               (Ifknown)


                                              SCHEDULE B-PERSONAL PROPERTY
                                                                     (COllfinualiol1 Sheet)



                                                                                                                              ClRREIH \'\LUE OF
                                                                                                                              DEBTOR'S '''TEREST
                                                    N                                                                         I" PROPERTY, WITH­
             TYPE OF PROPERTY                       o          DESCRIPTIO" A"D LOCATION                                       OIIT DEDl'CTI'\G A:\'Y
                                                    N                OF PROPERTY                                                SEClRED CL.\I\I
                                                    E                                                                            OR EXEMPTIO"


 22 Patents. copynghts, and other
 intellectual property Give particulars
                                                x

 23 Licenses, franchises, and other general
 IIltanglbles GIVC particulars                  x

 24 Customer lists or other compilations
 contalll ing personally Identifiable           x
 mformaunn (as defined III II USC
  ~ 101 (41 A») provided to the debtor by
 IndiViduals in connection with obtainmg a
 product or semce from the debtor
 prllnarily for persnnal, family. nr
 househnld purposes

  25. Autmnoblks. trucks, trailers,
                                                        '05 Toyota Corolla- 840 Heritage Dr.                                       2,400
 and other vehicles and accessones

 2h     Boat~,   motors. and   JCLLSSorics.
                                                        '02 Mitsubishi Gallant- 840 Heritage Dr.                                   1,619
                                                x       '98 Estate CK-KR trailer- Sublette, IL                                     1,500
 '27 AlfCruft and     acceS~Oflc:S
                                                x
 28 OffIce eqUipment. furlltshlllgs,
 and supp! ies
                                                x

 29. Machll1ery. ft'\tures. equipment.
 and supplies used III busllless                x

 30 Ill\clltm,
                                                x
 31 Annnals
                                                x
 32 Crops - growing or harvested.
 Give particulars                               x

 33 Fannll1g equipment and Implements
                                                x
 34 Fann supplics, chemlc'lls, and fecd
                                                x
 35 Other persnnal property of all\ killd
 not alreadv listed Itemlzc                     x

                                                                0
                                                               _____contillualion shcets attached                Total"   $   88,363
                                                                         (Include amounts from an~' cont1l1Uatlon
                                                                         sheets attached Report total also all
                                                                                     Summary of Schedules)
           Case
B6C (Official Form13-03540
                   6C) (04/10)         Doc 1       Filed 01/30/13 Entered 01/30/13 14:33:33                           Desc Main
                                                    Document     Page 12 of 37
                  Agnes L. Guevarra
In re ____________________________________________,                                               Case No. _________________________
                 Debtor                                                                                            (If known)


                        SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 Debtor claims the exemptions to which debtor is entitled under:        G Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                          $146,450.*
 G 11 U.S.C. § 522(b)(2)
 G✔
    11 U.S.C. § 522(b)(3)




                                                                                                                        CURRENT
                                              SPECIFY LAW                            VALUE OF                      VALUE OF PROPERTY
  DESCRIPTION OF PROPERTY                   PROVIDING EACH                           CLAIMED                       WITHOUT DEDUCTING
                                               EXEMPTION                            EXEMPTION                          EXEMPTION


 Cash Money                          735 ILCS 5/12-1001(b)                                                20                                 20

 Credit Union & Bank Accts.          735 ILCS 5/12-1001(b)                                              891                                891

 Misc. furniture                     735 ILCS 5/12-1001(b)                                            1,300                              1,300

Misc. clothes                        735 ILCS 5/12-1001(a)                                                300                              300

Misc. jewelry                        735 ILCS 5/12-1001(b)                                               200                               200

Digital camera,                      735 ILCS 5/12-1001(b)                                               250                               250

 Entrust IRA Acct.                   735 ILCS 5/12-1006(a)                                            36,459                           36,459


 Fenwal 401(k) plan                   735 ILCS 5/12-1006(a)                                          39,019                             39,019

 ING Direct IRA                      735 ILCS 5/12-1006(a)                                             4,405                             4,405

 '05 Toyota Corolla auto             735 ILCS 5/12-1001(c)                                            2,400                             2,400

 '02 Mitsubishi Galant auto           735 ILCS 5/12-1001(b)                                           1,619                             1,619

  Estate CK-KR trailer                735 ILCS 5/12-1001(b)                                           1,500                            1,500

 Single Family Residence              735 ILCS 5/12-901(a)                                                 0                        216,121

 840 Heritage Dr.

 Addison, IL

 Vacant lot                           735 ILCS 5/12-1001(b)                                                0                                0

 Sublette, IL


* Amount subject to adjustment on 4/1/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
              Case 13-03540                Doc 1               Filed 01/30/13 Entered 01/30/13 14:33:33                                       Desc Main
                                                                Document     Page 13 of 37

    B6D (Official Form 6D) (12/07)
                         In re Agnes L. Guevarra                                                              Case No.
                                          Debtor                                                                                           (If known)

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
               State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
    property of the debtor as of the dale of tiling of the petition. The complete account number of any account the debtor has with the creditor is useful
    to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors hokling all types of secured interests such as
    judgment liens. garnishments. statutory liens, mortgages, deeds of trust. and other security interests.
               List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
    address of the child's parent or guardian. such as "A.B .. a minor chi Id. by John Doe. guardian." Do not disclose the child's name. See. II U.s.c. § 112
    and Fed. R. Bankr. P. 1007(m). Ifall secured creditors will not tit on this page. use the continuation sheet provided.
               If any entity other than a spouse in a joint case may be jointly liable on a claim. place an "X" in the column labeled "Codebtor:' include the
    entity on the appropriate schedule of creditors. and complete Schedule H _. Codebtors. lfajoint petition is filed, state whether the husband. wife.
    both of them. or the marital community may be liable on each claim by placing an "H:' '·W." "J." or "C" in the column labeled "I lusband. WifC.
    Joint. or Community."
               If the claim is contingent. place an "X" in the column labeled "Contingent." If the claim is unliquidated. place an "X" in the column
    labeled "Unliquidated."' If the claim is disputed, place an "X" in the column labeled "Disputed."' (You may need to place an "X" in more than one of
    these three columns.)
               Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion. if Any" in the boxes
    labeled 'Total(s)" on the last sheet of the completed schedule. Report the total trom the column labeled "Amount of Claim Without Deducting Value
    of Collateral" also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
    labeled "Unsecured Portion, iI' Any" on the Statistical Summary or Certain Liabilities and Related Data.


              D          Check this box jf debtor has no creditors holding secured claims to report on this Schedule D.



       CREDITOR'S NAME AND
                                           IX
                                                  ...
                                                  ..l
                                                         ;..      DATE CLAI!\1 WAS           E-
                                                                                             Z
                                                                                                       O                 AMOUNT OF CLAIM                    I'NSECliRED
          MAILJ"IG ADDRESS
                                           0      ~IXE-
                                                        0-
                                                                       INClIRRED,
                                                                                             ~         '~""
                                                                                                       E-        O           WITHOl'T                       PORTlOI\, IF
     I"ICLUDING ZIP CODE AND
       AN ACCOl!NT NUMBER
         (See instructions Above.)
                                           E-
                                           ~

                                           '0""
                                           0
                                                  o"'E-""~
                                                  ~~a
                                                  ~O~
                                                                  "I ATCRE OF L1E"I ,
                                                                          AI\D
                                                                      DESCRIPTIOI\
                                                                                             (J
                                                                                             Z
                                                                                             f-
                                                                                             z
                                                                                                       -
                                                                                                       0
                                                                                                       ;.,
                                                                                                       0-
                                                                                                                 '""
                                                                                                                 E-
                                                                                                                 ;.,
                                                                                                                 Q.,
                                                                                                                 ~'
                                                                                                                         DEDUCTING VALUE
                                                                                                                          OF COLLATER\L
                                                                                                                                                                A"IY


                                                  !J)~"-             AI\D VALliE OF          0         :J        0                                                                I
                                           '-'    ~      ~                                             7-
I                                                 ::c                  PROPERTY              I.i       ;.,
                                                                  Sl"B.JECT TO L1E"I
    ACCOUNT NO.   5373                                          '09- 1st Mtg. lien on
    Fifth Third Bank                                            single family residence
    Mail Drop1MOC2N                                             at 840 Heritage Dr.                                          287,209                                0
    Cincinnati, OH 45263
                                                                VALUE S                            x
    ACCOUNT NO.
                    4754
                                                                '09- 2nd Mtg. lien on
    PNC Bank                                                    single family residence
                                                                                                                                53,689                             0
    P.O. Box 747032                                             at 840 Heritage Dr.

    Pittsburg, PA 15274-7032                                     V:\LlIE $                         x
    ACCOUNT NO.




r                                                               VALL:ES
                                                                                                   x
     0  continuation sheets                                      Subtotal ~                                            $                                $
    --auachcd                                                    (Total of Ihis page)                                      340,898                  I       0
                                                                 Total ~                                               $ 340,898                        $ 0
                                                                 (lise only at) last page)
                                                                                                                       (Report also on Summary at       (It applicable. report
                                                                                                                       Schedules)                       also on Stallstlcal
                                                                                                                                                        Summary of Certain
                                                                                                                                                        LiabilIties and Related
                                                                                                                                                        Data I
              Case 13-03540              Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                               Desc Main
                                                       Document     Page 14 of 37
B6E (Official Form 6E) (04/10)

                   Agnes L. Guevarra
          In re                                                    ,                                    Case No.
                                         Debtor                                                                              (if known)


        SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community."        If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

■    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


 * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
              Case 13-03540              Doc 1       Filed 01/30/13 Entered 01/30/13 14:33:33                              Desc Main
                                                      Document     Page 15 of 37
B6E (Official Form 6E) (04/10) – Cont.


 In re
          Agnes L. Guevarra                                        ,             Case No.
                            Debtor                                                                    (if known)




    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals

  Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).




* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                            0 continuation sheets attached
                                                           ____
              Case 13-03540                          Doc 1           Filed 01/30/13 Entered 01/30/13 14:33:33                                                Desc Main
                                                                      Document     Page 16 of 37
B6F (Official Form 6F) (12/07)
         Agnes L. Guevarra
In re -------------rDo-e-;"b"""7- - - - - - - - - -                                                                 Case No. ----------;O(i"f'k-n-o-w-n')----­
                                              t or


        SCHEDULE F - CREDITORS HOLDING UNSECURED NON PRIORITY CLAIMS
    State the name, mailing address, including Lip code, and last four digits of any account number. ofall entities holding unsecured claims without priority against
the debtor or the property of the debtor. as of the date of tiling of the petition. The complete account number of any account the debtor has with thc creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and thc name and
address ofthc child's parent or guardian. such as "A.B., a minor child, by John Doe, guardian." Do not d.isclose the child's namc. Sec, II use. ~ 112 and red.
R. Bankr. P. I007(m). Do not include claims listed in Schedules D and E. If all creditors will not tit on this page, use the continuation sheet provided.

    If any entity other than a spouse in ajoint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors. and completc Schedule I 1- Codebtors. II' ajoint pctition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W:' ".I:' or "C' in the column labeled "Husband, Wife, Joint. or Community."

     If the claim is contingent. place an "X" in the column labeled "Contingent." Iflhe claim is unliquidated, place an "X" in the column labeled "Unliquidated."
If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts. report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    D Ch ec k. tliS
                I' box 1'fd eIJtor      laS   no crc d'Itors lId'
                                                             10 ll1g unsecure d cI aUlls to report on th'IS Sid
                                                                                                            , C le u Ie    r
                                                             '-W
                                                             w...      >­
      CREDITOR'S NAME,
      MAILING ADDRESS                                e<::
                                                     ,...,   ~~
                                                              '-'
                                                             ,..;
                                                                  t:
                                                                       :z
                                                                                   DATE CLAIM WAS
                                                                                    INCURRED AND
                                                                                                                          f­
                                                                                                                          :zw        a
                                                                                                                                     f­
                                                                                                                                                            AMOUNT OF
                                                                                                                                                              CLAIM
     INCLUDING ZIP CODE.
                                                     '-'
                                                     '-      ~      ~~           CONSIDERA nON FOR                                   <r:      0
                                                     Co      :z Z~                                                        0
                                                                                                                          :z         0        ;;J
                                                                                                                                              '­
    AND ACCOUNT NUMBER                               '-W     «-~                        CLAIM.                                       :J       :J
         ISee inslrllCllons a/701"e I
                                                     t"'     co8
                                                             [/)-,8             Ir CLAIM IS SUBJECT TO                    f:         0'       r:J....
                                                     0                                                                    :z                  [/)
                                                     w
                                                             ~
                                                             ~


                                                             ~
                                                                       W
                                                                                   SETOFF, SO STATE.                      t"'
                                                                                                                          '-';

                                                                                                                          u
                                                                                                                                     -
                                                                                                                                     :z       15
                                                                                                                                     -'


  ACCOUNT NO       9954
 WFFNB- Ann Taylor                                                             2008- Consumer goods                                                            97
 P.O. Box 659705
 San Antonio, TX 78265-9705                                                                                                      x

 ACCOUNT NO         8725
 Sam's Club Discover/GECRB                                                     2006- Consumer goods                                                          1,567
 P.O. Box 960013
 Orlando, FL 32896-0013                                                                                                          x
 ACCOUNT NO        6482
Home Depot Credit Services                                                    2004- Consumer goods                                                           4,537
 P.O. Box 182676
 Columbus, OH 43218-2676                                                                                                         x
 ACCOUNT NO.       4913
Visa                                                                          2009- Consumer goods                                                           8,051
P.O. Box 660493
Dallas, TX 75266-0493                                                                                                            x
                                                                                                                                      Subtotal~         $   14,252
  1    continuation shects attached                                                                                                        Total~       $
 - -

                                                                                         (USConly on last page of the completed Schedule f.)
                                                                    (Report also on Summary of Schedules and. if applicable. on the Statistical
                                                                                          Summary of Certain Liabilities and Related Data.)
             Case 13-03540                  Doc 1            Filed 01/30/13 Entered 01/30/13 14:33:33                                                Desc Main
                                                              Document     Page 17 of 37
B6F (Official Form 6F) (12/07) - Cont.


In re Agnes L. Guevarra                                                 _                                Case No.                                                _
                   Debtor                                                                                                                     (if known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                              (Continuation Sheet)




                                                    u.i
     CREDITOR'S NAME.                               '"-'         >­            DATE CLAIM WAS                             ,...,                     AMOUNT OF
                                             0:::   ~O:::f-                                                    Z          tl;        a'-L:
                                                    ,...,.0 Z
                                             0                                   INCURRED AND                                                         CLAIM
                                                    ...... '-. ......
      MAILING ADDRESS                        f­                                                                '-Ll       f­
    INCLUDING ZIP CODE.                      0::
                                                                 ~

                                                                             CONSIDERA nON FOR                 v          «          f-
                                             '-L:   Z Z~
                                                                                     CLAIM.
                                                                                                               z          C:         ......
                                                                                                                                     ~



                                                                                                                                     ::e-
   AND ACCOUNT NUMBER                        0      «-~                                                        f:
         (See instructions above)            o
                                             u      ~~o
                                                    ~   u
                                                                            IF CLAIM IS SUBJECT TO             Z
                                                                                                               0
                                                                                                                          5          C/l
                                                                                                                                     C:
                                                                               SI:TOFF. SO STATI~.             u

 ACCOUNT NO       8350
                                                    ::c
                                                                                                                          -~
HSBC Retail Services                                                    2009- Consumer goods                                                         1,108
P.O. Box 71106
Charlotte, NC 28272-1106                                                                                              x

 ACCOUNTNO        1546
Citi Cards                                                              1996- Consumer goods                                                        7,311
Box 6500
Sioux Falls, SD 57117                                                                                                 x
 ACCOUNT NO      9885
WFNNB- Ann Taylor Mastercard                                            2008- Consumer goods                                                           56
P.O. Box 659569
San Antoinio, TX 78265-9569                                                                                           x
 ACCOUNT NO       8644
Discover Financial Services                                             1996- Consumer goods                                                        11,097
P.O. Box 6103
Carol Stream, IL 60197                                                                                                x
 ACCOUNT NO




          1
 Sheet no _o!~   1 continuatIOn sheets attached                                                                                Subtotal~        $
 to Schedule of Creditors Iioiding Unsecured
 Nonpnont\ Claims                                                                                                                                   19,572
                                                                                                                                  Total~        $
                                                                              (Use only on last page of the completed Schedule F)
                                                           (Report also on Summary of Schedules and. ifapplicable on the Statistical
                                                                                 Summary of Certain Liabilities and Related Data)                   33,824
Case 13-03540               Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                                   Desc Main
                                          Document     Page 18 of 37

B6G (Official Form 6G) (12/07)

In re    Agnes L. Guevarra                                _                       Case No.                                 _
                    Debtor                                                                             (if known)


        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         Describe all executory contracts of any nature and all unexpired Icases of real or personal property. Include any timcsharc
    interests. State nature of debtor's interest in contract. i.e" "Purchascr," "Agenl.·' etc.· Statc \\hethcr dcbtor is the lessor nr
    lessce ora lease. Provide the namcs and complete mailing addresses of all othcr partics to each lease or contract dcscribed. If
    a minor child is a party to onc orthe leases or contracts. state the child's initials and the name and address orthc child's parent
    or guardian. such as ";\.fL a minor child, by John One, guardian." Do not disclose the chIld's name. Sec, II l:.S.C. ~ 112 and
    Fed. R. Rankr. P. 1007(m).


D
✔ Chcck this box if dcbtor has no executory contracts or unexpired Icases,




         NAME AND MAILING ADDRESS,                                      DESCRIPTION OF CO:'liTRACT OR LEASE A"lD
             I"ICLl'DING ZIP CODE,                                        NATl'RE OF DEBTOR'S I"lTEREST. STATE
   OF OTHER PARTIES TO LEASE OR CO"lTRACT.                               WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                            REAL PROPERTY. STATE CONTRACT
                                                                        "I1:MBER OF A'iY GOVER"IMENT CONTRACT.
          Case 13-03540                Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                                  Desc Main
                                                     Document     Page 19 of 37
B6H (Official Form 6H) (12/07)

In re    Agnes L. Guevarra                             _                                          Case No.                                           _
                        Debtor                                                                                             (if known)


                                                   SCHEDULEH-CODEBTORS
    Provide the information requested concerning any person or entity. other than a spouse in a joint case. that is also liablc on any debts listed by the
debtor in the schcdules of creditors. Include all guarantors and co-signers. lfthc dcbtor resides or resided in a community propcrty state.
commonwealth. or territory (including Alaska. Arizona. California. Idaho. Louisiana. Nevada. New Mexico. Puerto Rico. Texas. Washington. or
Wisconsin) within thc eight-year period immediately preceding the commencement of the case. identil~v the name of the debtor's spouse and of any
fonner spouse who resides or resided with the debtor in the community prnperty state. commonwealth. or ten·itory. Include all names used by the
nondebtor spouse during the eight ycars immediately preceding the commencement or this case. II' a minor child is a codebtor or a creditor. state the
child's initials and the name and address or the child's parent or guardian. such as ";\.I~ .. a minor child. by John Doc. guardian." Do not disclose the
child's name. Sec. II liSe ill12 and Fed. R. Bankr. 1'. 1007(m).

D
✔
     Check this box ir debtor has no eodebtors.


               I\'AME AND ADDRESS OF CODEBTOR                                             ]\AME A:'IID ADDRESS OF CREDITOR
                 Case 13-03540               Doc 1      Filed 01/30/13 Entered 01/30/13 14:33:33                                     Desc Main
                                                         Document     Page 20 of 37
B61 (Official Form 61) (12/07)
     In re         Agnes L. Guevarra                            _                                      Case No.                                   _
                               Debtor                                                                                               (if known)


                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
    The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor. whether or not ajoint petition is
    fileu. unless the spouses are separateu and ajoint petition is not filed. Do not state the name of any minor child. The average monthly income
    calculateu on this form may differ from the current monthly income calculated on From 22A, 2213, or 22C.


      Debtor's Marital                                              DEPENDENTS OF [WHTOR AND SPOUSE
      Status:
            Single                 RELATIONSHIP(S)      Son                                                                         AGE(S)   24

      Employment:                                        DEBTOR                                                            SPOUSE
      Occupation                        Clinical Data Mgr.
      Name or          L~mplOyer
                                        Fenwal, Inc.
        l    \   IlIII",
                                        5 yrs.
      Address of Employer
                                        Three Corporate Dr.
                                        Lake Zurich, IL 60047

    INCOME: (Estimate of average or projected monthly income at time           DEBTOR                              SPOUSE
                 case filed)
                                                                               $     8,069                         $
    I. Monthly gross wages. salary. and commissions
        (Prorate ifnot paiu monthly)                                           $                   0               $
    2. Fstimate monthly overtime

    3. SU13TOTAL                                                                     8,069
                                                                               I$                                      $
    4. LESS PA YROLL DEDUCTIONS
       a. Payroll ta:\cs anu social security                                   $     2,132                         $
       b. Insurance                                                            $             329                   $
       c. Union uues                                                           $              0                    $
       u Other (Specif~ ):      401(k), Roth        401(k)          _          $         1,247                     $

    5. SUBTOTAL OF PA YROLL DEDUCTIONS                                               3,708                             $

    6. TOTAL NET MONTHL Y TAKE HOME PAY                                                  4,361                         $
                                                                               I :

    7. Regular income from operation of business or profession or farm      $        0                             $
         (Attach detailed statement)                                                 0
    8. Income from real property                                            $                                      $
    9. Interest and uividends                                               $        0                             $
    10. Alimony. maintenance or support payments payable to the debtor f(1r          0
                                                                            $                                      $
           the debtor's use or that of dependents listed above
    II. Social security or government assistance
         (Specil~ )_-,----                                       _          $        0                             $
    12. Pension or retirement income
                                                                            $        0                             $
    13. Other monthly income
           (Specify):                                              _        $        0                             $

    14. SUBTOTAL OF LINES 7 THROUGII 13                                                  0                         $

     15. AVERAGE MONTHLY INCOME (Aud amounts on lines 6 anu 14)

    16. COMBINED AVERAGE MONTHLY INCOME: (Combinc column
                                                                               I:    4,361

                                                                                                       $   4,361
                                                                                                                   $



    totals /i'om line 15)                                                      (Report also on Summary of Scheuules anu. i r applicable,
                                                                               on Statistical Summary of Certain Liabilities and Related Data)

    17. Describe any increase or decrease in income reasonably anticipated to occur within the year 1l1110wing thc filing of this document:
               Case 13-03540                       Doc 1            Filed 01/30/13 Entered 01/30/13 14:33:33                                            Desc Main
                                                                     Document     Page 21 of 37
B6J (Official Form 6J) (12/07)

               In re Agnes L. Guevarra                                           _                                         Case No.                                               _
                                     Debtor                                                                                                      (if known)


                SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete tillS schedule by estllnatll1g the average or projected monthly expenses of the debtor and the debtor's family at time case filed I'rorak any payments made b,­
weeki" quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income
allowed on Fonn22A or 22C.

          Check this box ,falolnl pelition is filed and debtor's spouse maintallls a separate household Complete a separate schedule ofexpenditurL's labeled "Spousc"

  Rent or home mortgage payment (include lot rellted lor mobile home)                                                                                                2,838
     a. Arc real estate taxes II1cluded"                  Yes   x           No
     b Is property insurance IIlcludcd"                   Yes x             No
2. Utilities    a Electricity and heating fuel                                                                                                                   $   200
                b. Watcr and sewer                                                                                                                               $ - -120
                                                                                                                                                                       ----_._­
                c. Telephone                                                                                                                                     $    282
                d.Other        HOA                                                                                     _                                         $      85
                                                                                                                                                                          ----        ---
3 Home maintenance (repairs and upkeep)                                                                                                                          $    200

4 Food                                                                                                                                                           $   300
  Clothlllg                                                                                                                                                      $    100
6. Laundry and dry cleaning                                                                                                                                      $      60
7 Medical and dental expenses                                                                                                                                   $     120
R Transportation (not Including car payments)                                                                                                                    $    450
9 Recreation, clubs and entertainment. newspapers, magazines, ctc,                                                                                              $      50
10 Chalilable contributions                                                                                                                                      $    100
II Insurance (not deducted from wages or included in home mortgage payments)
          ,J   Homeowner's or renter's                                                                                                                               50
                                                                                                                                                                $ --_._._.---­
          b Lire                                                                                                                                                $
          c Health                                                                                                                                              $
          d Auto                                                                                                                                                    175
                                                                                                                                                                 $ -- -----
          e Other                                                                                              _                                                 $ _ .... __ .__. _ - ­

12 Taxes (not deducted trom wagcs or included in home mortgage paymcnts)
(Specify)    Property taxes                                                                                        _                                            $      20
13 Installment payments. (In chaptcr 11.12, and 13 cases, do not list payments to be included           111   the plan)
          a Auto                                                                                                                                                $
          b Other      Memorial plan                                             _                                                                               $    337
          c.Other                                                                                 _                                                             $
14. Aillnony, mall1tenance. and support paid to others                                                                                                          $ -----
15 Payments for support of addilional dependents not living at your home                                                                                        $      40
16 Regular expenses from operation ofbusll1ess, profession. or farm (attach detaIled statement)                                                                 $
17. Other                                                                                                      _                                                $

I R. AVERAGE MONTHL Y EXPENSES (Total lines 1-17 Report also on Summary of Schedules and,                                                                       5,527
     If applicable, on the StatistICal Summary of Certain Ltabilities and Related Data)                                                                    I$
19. Describe any IIlcrease or decrease     III   expenditures reasonablY' anlicipated to occur within the vear following the tilin.g of this document



20 STATEMENT OF MONTHL Y NET INCOME
     a. AYerage monthly Income trom Line 15 of Schedule I                                                                                                       $4,361
     b Average monthlY expenses from 1,Ine I H above                                                                                                              5,527
                                                                                                                                                                $----­
     c. MonthlY net II1come (a mlllus b      i                                                                                                                  $(1,166)
                                                                                                                                                                  -----­
        Case 13-03540                                           Doc 1                    Filed 01/30/13 Entered 01/30/13 14:33:33                                                                                         Desc Main
                                                                                          Document     Page 22 of 37
A6 Declaralion IOffici.1 Funn 6· Ucdaratroll) (1~'07)

                  In rc             s _L_,_G_u_e_v_a_rr_a
                          _A-=.9_n_e_                                                          _                                                                  Ca.e No.                                                 _
                                                       Debtor                                                                                                                                      (if known)




                                                                                                                                                          EBTOR'S SCHEDULES

                                                          DECI.t\Rt\TION UNDER PENALTY OF PERJURY BY INDlVlPUAI. DFBTOR


        I declare under penall)' or l'<''.Iu" lhal I I,ave read Ihe foregoing summar)' and                                             sch~dul~s. consisting of ~ sheets. "nd Ihm Ih~y are tru~ and ~orreCI 10 Ihe beSI of
Ill)   knowledge. Infonnallon. ,\lid bell~r


Date _0_1_/2_8_/2_0_1_3                                                  _                                                                Signature: _ _           .,.~Fi....;.._/_//l---              -.,,---=­
                                                                                                                                                                                                        Debtor
                                                                                                                                                                                                                                _


                                                                                                                                          SIgnature:                                              -,--=--=--=-                              _
                                                                                                                                                                                        (J01l11   Dcblor. ifany)

                                                                                                                                                 LlfJoint C8U'.     oolh   :lpoosel must    sl~n   1

                                                  ........................._               -                _--_ _-                                            - _                     -.......................•..
                                  DlCI.ARATION                  A~D SIGNATtRE

    I declare under penalty OfpelJup,lhat: f I) I am a banklllpley pctitiOl1
                                                                                                                   ,:,r
                                                                                                  01' :"lON.An'ORNt:Y BANKRl'PTC\' PETITION PRlPARF.R (Se. JJ \ .S.C § 110)

                                                                                                                   "'.
                                                                                                                                                                                                                          .
                                                                                                                                                            . § 110; (2) I prepared thl~ document f"r ~umpensati(n,.nd have prOllded
the deblor with a copy ofthis doeulTl('nl and the nOll'.s and informalic!II'                                                                               I100b), 1I00h) and 342(b). and. (3) ifllll~s ur yuldcllll~. hi). been
prollllrigaled pursuant ID II lJ.S.c. § III~hl 5<:"'"8 a maximum fee                                      rorr'                                          'PwY petition preparcn. I ha\e 81\'en 11K- debtor nOllce ofllll: nl3",mUIll
amolllli before preparing any docwnenl Ii" 1iJ1"~ I('r a .kblor or aCCe .'                                                                           III required by lhal Set lion
                                                                                                                                                     1;·

PnllleJ    01'   r,p<d Name and Till". II'"n,.                                                                           Soc.ai S,;clU1ty No
Dr 13an~rUr!C) P~'ItIOll Pn~pa(~r                                                                                        m"lu",'" 1>." II (I.'i.e'. § 1111.)

'Ilhe !>tlllkrllj1f<   I fe(I/IUII j1fVpOfO        1.\ Jm( un     IlJCh\'lduuJ, stalc: ,lit' Iklm,', ",/" 11/              a"y'. I/c/tlre."',I. uml.\u(,'/UI   .\'CC&U'I/y "umh,'r   III ,hi' "JJi(·~·r. prtnnrc,J, rr:\1)1J1I.\//JIc.: penulI,   (,r/ll/nill"
II!I() 1/;':.'1\ lhll IJ'lt IJI1I01l



Address



x                                      .._._.
 Slgnalur~       of Bankruptcy PC'lllion Prc:pan:r                                                                                                     Dole


'James alld So",ol Security               nllll1ber~   of all   01""' 1I1dllldllais "III" prepllred or asSlsled in preJl8rillg Ih" document. lI11le~s Ihe banklllpt<·V perilloll preparcr IS 1101 an ,"d",dual


-1 himkmp/C.l PC/UfO" IIrf.'/'KIrI:r';o. Imlllft, W I..oml'l,1      II   lib   "II! I'nl1"l,'rttJ/u   fJ/ "'If I '.,
IN {' ,\'( .," 15(,
    .- --.----..­ . -­ --..-.­                             - ----..­                           ··--~:r~
                                                                                                            \~'l
                                                                                                                   ,"~
                                                                                                                                                       ~-_.              __.._-_.__.._ _ _--_._-_.._                                                             .

                        DECI.ARA T10~ ( INI>ER PENALTY OFPE                                                                                           LF OF A CORPORATION OR PARPIERSHIP

      I. the                                            [the president or olherollkcr ur an authori7~d agent oft"" corpuratlun or a member or an aUlhonl<'J agelll ullli"
partnership J "I' ti,e                                             lClllporallon or panrtenhip] named as dehlnr in Ihis case. declare under penalt~ of per.1l1f' Ihal I have
real! the lorego II1g ,ummary and sclledules. consisting of _ sh~~IS (Tola!4ho..n on 4IJnrmary /X,se 1'111.1 I). anJ thaI rllev are true and corre"t (() Ihe besl or my
~ 110\\ ledge     IllfllrmJt!on, and belief


Dale                                                                              _
                                                                                                                             Signature:                                                                                                                  _


                                                                                                                                                [I'lII11 or type name ofl11dividual S1g~lI1g Oil heholf of dcl)tor I

/~ /I /nJmJ/Iul        signing     Oil    bdwl( vrll /XII'/nt!,.,llIp or corporal/on lIIusllndicu/~pO,flllon or ,.el{/lIo....llIp 10 deb/or. /


1'l!IIlIll1 ./vr maA'JnK aruis. 'fa'e",,,,r vr conaolinK 1"'vlJltmr ftl1¢ or up 1CI 5500.000 or Imprisonment for lip to 5 year.; or !>lith                                                                  18 USc. ~~ 151 and 3571
    Case 13-03540                  Doc 1     Filed 01/30/13 Entered 01/30/13 14:33:33                               Desc Main
                                              Document     Page 23 of 37


B7 (Official Form 7) (04/10)
                                   UNITED STATES BANKRUPTCY COURT


                        NORTHERN
                 ______________________________                     ILLINOIS
                                                DISTRICT OF _____________________________



       Agnes L. Guevarra
In re:_____ ___________________________________,                          Case No. ___________________________________
                          Debtor                                                               (if known)




                                     STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
§112 and Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.


                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

______________________________________________________________________________________________________
        1. Income from employment or operation of business

None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
            the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                        AMOUNT                                                      SOURCE
           2013-         7,569                         Fenwal, Inc.
           2012- 111,040                               Fenwal, Inc.
           2011- 102,500                               Fenwal, Inc.
       Case 13-03540           Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                              Desc Main
                                             Document     Page 24 of 37

                                                                                                                                        2

          2.   Income other than from employment or operation of business

None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the
✔         debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
          joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
          must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
          petition is not filed.)

                    AMOUNT                                                                   SOURCE




_____________________________________________________________________________________________________
        3. Payments to creditors

          Complete a. or b., as appropriate, and c.
None

G         a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
          goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
          this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
          Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
          as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
          agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

               NAME AND ADDRESS OF CREDITOR                   DATES OF            AMOUNT               AMOUNT
                                                              PAYMENTS            PAID                 STILL OWING
         American Memorial Life Ins.                         11,12/12,1/13            200/mo.             7,728
         P.O. Box 2730 Rapid City, SD 57709
None

G
✔         b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
          within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
          constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk
          (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
          filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
          not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF CREDITOR                             DATES OF                  AMOUNT              AMOUNT
                                                                   PAYMENTS/                 PAID OR             STILL
                                                                   TRANSFERS                 VALUE OF            OWING
                                                                                             TRANSFERS




          *
            Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or
after the date of adjustment.
       Case 13-03540          Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                              Desc Main
                                            Document     Page 25 of 37

                                                                                                                                      3
None

G
✔         c. All debtors: List all payments made within one year immediately preceding the commencement of this case
          to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
          include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)

               NAME AND ADDRESS OF CREDITOR                  DATE OF             AMOUNT               AMOUNT
               AND RELATIONSHIP TO DEBTOR                    PAYMENT             PAID                 STILL OWING




______________________________________________________________________________________________________


          4. Suits and administrative proceedings, executions, garnishments and attachments

None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
✔         preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
          information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
          and a joint petition is not filed.)

               CAPTION OF SUIT                                                   COURT OR AGENCY                STATUS OR
               AND CASE NUMBER               NATURE OF PROCEEDING                AND LOCATION                   DISPOSITION




None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
✔         year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
          must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
          the spouses are separated and a joint petition is not filed.)

               NAME AND ADDRESS                                                                       DESCRIPTION
               OF PERSON FOR WHOSE                           DATE OF                                  AND VALUE
               BENEFIT PROPERTY WAS SEIZED                   SEIZURE                                  OF PROPERTY



_____________________________________________________________________________________________________

          5.   Repossessions, foreclosures and returns

None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
✔         of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
          (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                        DATE OF REPOSSESSION,                         DESCRIPTION
               NAME AND ADDRESS                         FORECLOSURE SALE,                             AND VALUE
               OF CREDITOR OR SELLER                    TRANSFER OR RETURN                            OF PROPERTY



______________________________________________________________________________________________________
    Case 13-03540            Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                               Desc Main
                                           Document     Page 26 of 37

                                                                                                                                    4

        6.   Assignments and receiverships

None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
✔       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
        filed.)

                                                                                                      TERMS OF
             NAME AND ADDRESS                          DATE OF                                        ASSIGNMENT
             OF ASSIGNEE                               ASSIGNMENT                                     OR SETTLEMENT




None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
✔       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

                                            NAME AND LOCATION                                                   DESCRIPTION
             NAME AND ADDRESS               OF COURT                                       DATE OF              AND VALUE
             OF CUSTODIAN                   CASE TITLE & NUMBER                            ORDER                Of PROPERTY



______________________________________________________________________________________________________


        7.   Gifts

None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
✔       except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
        and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
        chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                    RELATIONSHIP                                                        DESCRIPTION
        OF PERSON                           TO DEBTOR,                      DATE                                AND VALUE
        OR ORGANIZATION                     IF ANY                          OF GIFT                             OF GIFT



_____________________________________________________________________________________________________

        8.   Losses

None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
✔       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)

        DESCRIPTION                    DESCRIPTION OF CIRCUMSTANCES AND, IF
        AND VALUE OF                   LOSS WAS COVERED IN WHOLE OR IN PART                                     DATE
        PROPERTY                       BY INSURANCE, GIVE PARTICULARS                                           OF LOSS




______________________________________________________________________________________________________
       Case 13-03540          Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                               Desc Main
                                            Document     Page 27 of 37

                                                                                                                                    5


          9.   Payments related to debt counseling or bankruptcy

None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
          consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
          within one year immediately preceding the commencement of this case.

                                                        DATE OF PAYMENT,                    AMOUNT OF MONEY OR
          NAME AND ADDRESS                              NAME OF PAYER IF                    DESCRIPTION AND
          OF PAYEE                                      OTHER THAN DEBTOR                   VALUE OF PROPERTY
Steven E. Barleben                                        11/12                             1,500
3830 N. Ashland Ave.
Chicago, IL 60613
______________________________________________________________________________________________________
        10. Other transfers
None

✔          a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
          the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
          this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF TRANSFEREE,                                         DESCRIBE PROPERTY
          RELATIONSHIP TO DEBTOR                                                  TRANSFERRED AND
                                                                   DATE           VALUE RECEIVED


None

G
✔         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
          to a self-settled trust or similar device of which the debtor is a beneficiary.

          NAME OF TRUST OR OTHER                        DATE(S) OF                AMOUNT OF MONEY OR DESCRIPTION
          DEVICE                                        TRANSFER(S)               AND VALUE OF PROPERTY OR DEBTOR’S
                                                                                  INTEREST IN PROPERTY


______________________________________________________________________________________________________

          11. Closed financial accounts

None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
✔         closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
          checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
          held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
          institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
          instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
          separated and a joint petition is not filed.)

                                              TYPE OF ACCOUNT, LAST FOUR                               AMOUNT AND
          NAME AND ADDRESS                    DIGITS OF ACCOUNT NUMBER,                                DATE OF SALE
          OF INSTITUTION                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING




______________________________________________________________________________________________________
    Case 13-03540           Doc 1       Filed 01/30/13 Entered 01/30/13 14:33:33                              Desc Main
                                         Document     Page 28 of 37

                                                                                                                                  6

        12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
✔      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                    NAMES AND ADDRESSES                DESCRIPTION          DATE OF TRANSFER
       OF BANK OR                          OF THOSE WITH ACCESS               OF                   OR SURRENDER,
       OTHER DEPOSITORY                    TO BOX OR DEPOSITORY               CONTENTS             IF ANY



______________________________________________________________________________________________________

       13. Setoffs

None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
✔       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

                                                                    DATE OF                   AMOUNT
        NAME AND ADDRESS OF CREDITOR                                SETOFF                    OF SETOFF



_____________________________________________________________________________________________________

            14. Property held for another person

None    List all property owned by another person that the debtor holds or controls.
✔
        NAME AND ADDRESS                        DESCRIPTION AND
        OF OWNER                                VALUE OF PROPERTY                                  LOCATION OF PROPERTY




_____________________________________________________________________________________________________

        15. Prior address of debtor

None
G
✔       If debtor has moved within three years immediately preceding the commencement of this case, list all premises
        which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
        filed, report also any separate address of either spouse.

        ADDRESS                                 NAME USED                              DATES OF OCCUPANCY




_____________________________________________________________________________
    Case 13-03540           Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                              Desc Main
                                          Document     Page 29 of 37

                                                                                                                                   7


        16. Spouses and Former Spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
✔      years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

        NAME


______________________________________________________________________________________________________
        17. Environmental Information.

        For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
       or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
       material, pollutant, or contaminant or similar term under an Environmental Law.


None    a. List the name and address of every site for which the debtor has received notice in writing by a governmental
✔       unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
        governmental unit, the date of the notice, and, if known, the Environmental Law:

            SITE NAME                 NAME AND ADDRESS                         DATE OF              ENVIRONMENTAL
            AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE               LAW




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
✔      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

            SITE NAME                 NAME AND ADDRESS                         DATE OF         ENVIRONMENTAL
            AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE          LAW




None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
✔       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
        to the proceeding, and the docket number.

            NAME AND ADDRESS                          DOCKET NUMBER                       STATUS OR
            OF GOVERNMENTAL UNIT                                                          DISPOSITION


______________________________________________________________________________________________________

        18 . Nature, location and name of business

None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
✔       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
    Case 13-03540              Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                               Desc Main
                                             Document     Page 30 of 37

                                                                                                                                      8

          executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
          other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
          the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities, within six years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities within six years immediately preceding the commencement of this case.

                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                  BEGINNING AND
               NAME            OR OTHER INDIVIDUAL                  ADDRESS        NATURE OF BUSINESS              ENDING DATES
                               TAXPAYER-I.D. NO.
                               (ITIN)/ COMPLETE EIN




None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
✔         defined in 11 U.S.C. § 101.

               NAME                                      ADDRESS



______________________________________________________________________________________________________

           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

          (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)

_____________________________________________________________________________________________________


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
✔         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

               NAME AND ADDRESS                                                               DATES SERVICES RENDERED




None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
✔         case have audited the books of account and records, or prepared a financial statement of the debtor.

               NAME                                      ADDRESS                              DATES SERVICES RENDERED
    Case 13-03540           Doc 1       Filed 01/30/13 Entered 01/30/13 14:33:33                              Desc Main
                                         Document     Page 31 of 37

                                                                                                                               9

None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the
✔      books of account and records of the debtor. If any of the books of account and records are not available, explain.

            NAME                                                                         ADDRESS




None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
✔       financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

                  NAME AND ADDRESS                                                             DATE ISSUED



________________________________________________________________________________________________

        20. Inventories

None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
✔       taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                              DOLLAR AMOUNT
                                                                                              OF INVENTORY
                  DATE OF INVENTORY               INVENTORY SUPERVISOR                        (Specify cost, market or other
                                                                                              basis)




None    b. List the name and address of the person having possession of the records of each of the inventories reported
✔       in a., above.

                                                                                              NAME AND ADDRESSES
                                                                                              OF CUSTODIAN
                  DATE OF INVENTORY                                                           OF INVENTORY RECORDS



____________________________________________________________________________________________________

        21 . Current Partners, Officers, Directors and Shareholders

None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
✔           partnership.

            NAME AND ADDRESS                         NATURE OF INTEREST              PERCENTAGE OF INTEREST




None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
✔           directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
            corporation.
                                                                                       NATURE AND PERCENTAGE
                 NAME AND ADDRESS                                TITLE                    OF STOCK OWNERSHIP




__________________________________________________________________________________________________
    Case 13-03540           Doc 1        Filed 01/30/13 Entered 01/30/13 14:33:33                              Desc Main
                                          Document     Page 32 of 37

                                                                                                                                10

        22 . Former partners, officers, directors and shareholders

None    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
✔       preceding the commencement of this case.

            NAME                                           ADDRESS                    DATE OF WITHDRAWAL




None    b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
✔       within one year immediately preceding the commencement of this case.

                  NAME AND ADDRESS                              TITLE                          DATE OF TERMINATION



___________________________________________________________________________________________________

        23 . Withdrawals from a partnership or distributions by a corporation

None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
✔       including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
        during one year immediately preceding the commencement of this case.

                  NAME & ADDRESS                                                          AMOUNT OF MONEY
                  OF RECIPIENT,                            DATE AND PURPOSE               OR DESCRIPTION
                  RELATIONSHIP TO DEBTOR                   OF WITHDRAWAL                  AND VALUE OF PROPERTY




___________________________________________________________________

        24. Tax Consolidation Group.

None    If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
✔       consolidated group for tax purposes of which the debtor has been a member at any time within six years
        immediately preceding the commencement of the case.

            NAME OF PARENT CORPORATION                     TAXPAYER-IDENTIFICATION NUMBER (EIN)



_____________________________________________________________________________________________________

        25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
✔      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

            NAME OF PENSION FUND                      TAXPAYER-IDENTIFICATION NUMBER (EIN)




                                                        * * * * * *
Case 13-03540                   Doc 1           Filed 01/30/13 Entered 01/30/13 14:33:33                                                 Desc Main
                                                 Document     Page 33 of 37


                                                                                                                                                             11

            [Ifcompleted by an individual or individw/ and spouse]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of fmancial affairs
            and any attachments thereto and that they are.            tr:ue
                                                                and correcl



            Date           01/28/2013


            Date




            (If completed on behalfofa partnership or corporation]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
            thereto and that they are true and correct to the best of my knowledge, information and belief



            Date                                                                   Signature

                                                                                   Print Name and
                                                                                   Title

                      [An individual signing on behalf of a par1Dcrsbip or corporation must indicate position or relationship to debtor.]



                                                            1;
                                                            '
                                                            1\\.+
                                                            j'
                                                            ~L~'
                 Penaltylor making alalse statement: Fine afup ,.                           IIIforup toj yean, or both. 18 Us.c. §§ Ij2 and Jj11
                                                                                      ~p'


            DECLARAnON AND SIGNATURE OF NON-AlTORNEY BANKRUYfCY PETITION PREPARER (See 11 U.S.c. § 110)

   I declare under penalty of perjury that: (I) I am a bankruptcy petition preparer as defined in 1I U.S.c. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this docWIICnt and the ootices and information required under I I U.S.C. §§ I100b), I100h), and
342(bl. and. (3 1 if rules or guidelines have been promulgated pursuant to 11 U.S.C. § IIO(h) setting a maximum fee for services chargeable by bankruptcy
peltnon preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from
Ihe debtor. as required by that section.




  Printed or Typed Name and Title, if any, ofBanlcruptcy Petition Preparer                Social-Security No. (Required by II U.S.c. § 110.)

Ifthe bankruptcy petition preparer is not an mdividual. state the _ . title (tf any). address, and social-security number ofthe officer. principal,
responsible person, or partner who signs this document.              '




  Address


  Signature of Bankruptcy Petition Preparer

Names and Social-Security numbers ofall other individuals who       prePared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

Ifmore than one person prepared this document, attach additional signed sheets l:Onforming to the appropriate Official Form for each person

A bankruptcy petition preparer's/allure to comply with the provisions o/tlJle 11 and the Federal Rules ofBankruptcy ProcedJIre may result In
fines or imprisonment or both. 18 U.S. C. § 156.
        Case 13-03540              Doc 1    Filed 01/30/13 Entered 01/30/13 14:33:33           Desc Main
                                             Document     Page 34 of 37

B 8 (Official Form 8) (12/08)


                                UNITED STATES BANKRUPTCY COURT
                                            __________  District
                                             Northern District of of __________
                                                                  Illinois
        Agnes L. Guevarra
In re ____________________________,                                               Case No. ___________________
                      Debtor                                                                  Chapter 7

             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                             Describe Property Securing Debt:
                         Fifth Third Bank                     Single Family Residence- 840 Heritage Dr.

 Property will be (check one):
     ’ Surrendered                               ✔ Retained
                                                 ’

 If retaining the property, I intend to (check at least one):
       ’ Redeem the property
       ’ Reaffirm the debt
       ✔ Other. Explain ________________________________
       ’                    Loan Modification                 (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     ’ Claimed as exempt                                    ’ Not claimed as exempt

 Property No. 2 (if necessary)

 Creditor's Name:                                             Describe Property Securing Debt:
                                PNC Bank                      Single Family Residence- 840 Heritage Dr.

 Property will be (check one):
     ’ Surrendered                               ’ Retained

 If retaining the property, I intend to (check at least one):
       ’ Redeem the property
       ’ Reaffirm the debt
       ✔ Other. Explain ________________________________
       ’                             Loan Modification        (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     ’ Claimed as exempt                                    ’ Not claimed as exempt
 Case 13-03540                  Doc 1   Filed 01/30/13 Entered 01/30/13 14:33:33                              Desc Main
                                         Document     Page 35 of 37


                                                                                                                             Page 2
B 8 (Official Form 8) (12/08)

PART B - Personal property subject to unexpired le~es.                        (All three columns 0/ Part B must be completed/or
each unexpired lease. Attach additional pages ifnecessary.)

 Property No. I

 Lessor's Name:                             Describe Leased Property:                    _Lease will be Assumed pursuant
                                                                                          to 11 U.S.C. § 365(p)(2):
                                                                                          DYES             o NO

 Property No.2 (ifnecessary)

 Lessor's Name:                             Describe Leased Property:                     Lease will be Assumed pursuant
                                                                                          to 11 U.S.C. § 365(p)(2):
                                                                                          DYES            o NO
                                                                 -,I'




 Property No.3 (ifnecessary)
                                                    , ,..iHti·   ~;~,   ,';
 Lessor's Name:                             Describe Leased Property:                     Lease will be Assumed pursuant
                                                                                          to 11 U.S.C. § 365(p)(2):
                                                                                          DYES            0 NO

_0_ continuation sheets attached (ifany)

I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.




Date:           01128/2013
                                            Sign~




                                            Signature of Joint Debtor
Case 13-03540              Doc 1       Filed 01/30/13 Entered 01/30/13 14:33:33                           Desc Main
                                        Document     Page 36 of 37



                          United States Bankruptcy Court
                                 Northern             District Of              Illinois


In re      Agnes L. Guevarra

                                                                           Case No.

Debtor                                                                     Chapter -7- - - -


              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.s.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above­
   named debtor(s) and that compensation paid to me within one year before the filing of the petition in
   bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s)
   in contemplation of or in connection with the bankruptcy case is as follows:

     For legal services, I have agreed to accept                                                     $
                                                                                                         1,500           _

     Prior to the filing of this statement I have received                                           $   1,500           _

     Balance Due                                                                                     $
                                                                                                         0               _

2. The sou rce of the com pensati on paid to me was:

             D Debtor
              ✔
                                      D Other (specify)
3. The source of compensation to be paid to me is:

             DDebtor                 D   Other (specify)

4.   D✔   I have not agreed to share the above-disclosed compensation with any other person unless they are
          membersand associates of my law firm.

     D    I have agreed to share the above-disclosed compensation with a other person or persons who are not
          members or associates of my law firm. A copy of the agreement, together with a list of the names of
          the people sharing in the compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
   case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether
        to file a petition in bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representati on of the debto r at the meeti ng of cred itors and confi rm ation heari ng, and any adj ou rn ed
        heari ngs thereof;
Case 13-03540          Doc 1      Filed 01/30/13 Entered 01/30/13 14:33:33                     Desc Main
                                   Document     Page 37 of 37

   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)


   d. Reprerentation of the debtor in adversary proceedings and other contesed bankruptcy matters;

   e. [Other provisions as needed]

      Negotiations with secured creditors for reaffirmations; exemption planning; preparation

     and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance on household

     goods.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

   Negotiations with secured creditors for modifications; redemptions under 11 USC 722;

   representation of the debtor in any dischargability actions; judicial lien avoidances; relief

   from stay actions; any adversary proceeding amendments; enforcement of stay violations.




                                              CERTIFICATION



        I certify that the foregoing is a complete statement of any agreement or arrangement for
     payment to me for representation of the debtor(s) in this bankruptcy proceedings.


        01/28/13                              Steven E. Barleben /s/
               Date                                        Sgnature of Attorney


                                              Law Office of Steven E. Barleben
                                                           Name of law firm
